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 13
                              UNITED STATES DISTRICT COURT
 14
                            CENTRAL DISTRICT OF CALIFORNIA
 15
                                       SOUTHERN DIVISION
 16

 17
      GUANGZHOU YUCHENG                                Case No. 2:21-cv-04758-JVS-JDE
 18   TRADING CO., LTD., a foreign
      limited liability company,                       GUANGZHOU YUCHENG
 19
                                                       TRADING CO., LTD.’S
 20       Plaintiff / Counterclaim Defendant,          RESPONSIVE CLAIM
                                                       CONSTRUCTION BRIEF
 21
                    v.
 22                                                    Judge: James V. Selna
      DBEST PRODUCTS, INC., a                          Hearing Date: April 25, 2022
 23
      California corporation,                          Time: 3:00 p.m.
 24                                                    Courtroom: 10C
          Defendant / Counterclaim Plaintiff.
 25

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          GUANGZHOU YUCHENG TRADING CO., LTD.’S RESPONSIVE CLAIM CONSTRUCTION BRIEF
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 18                  bumper wheel and the right bumper wheel in a manner where one-
 19                  half of the given diameter of the left bumper wheel is aligned with
 20                  the toe plate and one-half of the given diameter of the right bumper
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  1           Pursuant to the Court’s September 8, 2021 Scheduling Order (ECF No. 26),
  2    Plaintiff/Counterclaim Defendant GUANGZHOU YUCHENG TRADING CO.,
  3    LTD. (“GYT”) hereby submits its Responsive Claim Construction Brief to
  4    Defendant/Counterclaim Plaintiff DBEST PRODUCTS, INC.’S (“DBest”) Opening
  5    Brief (ECF No. 34, “DBest’s Opening Br.”).
  6    I.    INTRODUCTION
  7           As discussed in GYT’s Opening Claim Construction Brief (ECF No. 35,
  8    “GYT’s Opening Br.”), GYT’s proposed constructions for the disputed claim terms
  9    are consistent with the claim language and the specification of U.S. Patent No.
 10    9,233,700 (ECF No. 35-2, “the ’700 Patent”). In sharp contrast, DBest’s proposed
 11    constructions contradict the plain language of the claims and the description of the
 12    purported invention in the ’700 Patent’s specification.
 13           DBest repeatedly argues that the disputed claim terms are “perfectly clear,” but
 14    then applies these terms in a way that conflicts with those commonly understood
 15    meanings in an attempt to write out those claim limitations to fabricate a claim against
 16    GYT. For example, as discussed in GYT’s Opening Brief, GYT’s accused products
 17    do not include “a base section formed in a single piece of material including a bottom
 18    horizontal section having a left side and a right side, the bottom horizontal section
 19    respectively extending on the left side to a left arcuate section which extends to an
 20    elevated left horizontal section, and extending on the right side to a right arcuate
 21    section which extends to an elevated right horizontal section” (as relevant to
 22    Disputed Term Nos. 1 & 2):
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 13    (See ’700 Patent, Claim 3, Fig. 1; see also ECF No. 35 at 2–4.)1
 14            Although arguing that “the word ‘bottom’ is perfectly clear to one skilled in
 15    the art” (ECF No. 34 at 8), DBest seeks to construe the term “a bottom horizontal
 16    section . . .” in a way that completely eliminates the aspect of that claim requirement
 17    that makes it a “bottom” horizontal section, i.e., the bottom (or lowermost) horizontal
 18    section relative to the elevated horizontal sections. Indeed, DBest’s proposes that this
 19    term be construed simply as “a section of the base [section] that is generally
 20    horizontal. . . .” This proposed construction improperly changes the scope of the
 21    claims and should be rejected.
 22            As another example, and as discussed in GYT’s Opening Brief, GYT’s accused
 23    products do not include “a toe plate which has a honeycomb pattern with a
 24    multiplicity of openings separated by horizontal solid sections and vertical solid
 25
       1
 26        All figures herein are excerpted, and all annotations in blue text are added. In
 27    addition, all emphasis herein is added, and all internal quotations, citations, and
 28    modifications are omitted herein unless otherwise indicated.
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  1    sections” (as relevant to Disputed Term No. 4):
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 14    (See ’700 Patent, Claim 3, Fig. 1; see also ECF No. 35 at 2–4.)
 15           Instead of relying on the specification and prosecution history as it is required
 16    to do, DBest makes unsupported arguments about what a person of skill in the art
 17    would understand “honeycomb” to mean, and relies on alternative definitions of
 18    “opening” to argue that the openings need not “extend all the way through the toe
 19    plate.” (ECF No. 34 at 15–16.) If there was any doubt that the commonly understood
 20    meaning of “honeycomb pattern with a multiplicity of openings” defines a pattern of
 21    open spaces through which something may be passed, the ’700 Patent’s specification
 22    expressly describes a locking tab that attaches to the toe plate using one of these
 23    openings. Again, DBest’s proposed construction simply seeks to improperly change
 24    the scope of the claims and should be rejected.
 25           For these reasons, and those discussed below and in GYT’s Opening Claim
 26    Construction Brief, GYT respectfully requests that the Court reject DBest’s proposed
 27    constructions and adopt GYT’s proposed constructions of the disputed terms.
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      _______________________________________________________________________________________________
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  1    II.    GYT’S PROPOSED CONSTRUCTIONS SHOULD BE ADOPTED
  2            The following terms appear in independent Claim 3 of the ’700 Patent and are,
  3    thus, required by each of the asserted claims (i.e., independent Claim 3 and its
  4    dependent Claims 4–7 and 10–11) in this Action.
  5           1.     “a bottom horizontal section having a left side and a right side”2
  6
              GYT’s Proposed Construction           DBest’s Proposed Construction
  7        “a lowermost horizontal section of a ordinary meaning or “a section of the
  8
           base section having a left side and a base that is generally horizontal when
           right side”                           the cart is in a fully erect standing
  9                                              position, the section having a left side
 10
                                                 and a right side”
               DBest repeatedly argues that the term “bottom” is “well understood,”
 11
       “perfectly clear,” and does not need to be construed. (ECF No. 24 at 7–8.) DBest’s
 12
       only complaint with GYT’s proposed construction is that “[t]he patentee chose to use
 13
       the word ‘bottom’ and not ‘lowermost’ and . . . requests this Court to decline to
 14
       substitute the term ‘lowermost’ for the term ‘bottom.’” (Id. at 8–9.) However, the
 15
       issue is that DBest’s proposed construction leaves out the “bottom” aspect of the
 16
       “horizontal section” altogether. Thus, it is DBest’s construction that impermissibly
 17
       changes the scope of the claims.
 18
               As explained in GYT’s Opening Brief, an analysis of the meaning of the term
 19
       “a bottom horizontal section having a left side and a right side” is best understood
 20
       when read in conjunction with the rest of the language of Claim 3, which requires “a
 21
       base section formed in a single piece of material,” that includes a “bottom horizontal
 22
       section” that extends on either side to an “arcuate section which extends to” respective
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 27        The Parties agree that the phrase “having a left side and a right side” is clear and,
 28    thus, does not need to be construed. (See ECF No. 34 at 8.)
      _______________________________________________________________________________________________
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  1    “elevated . . . horizontal section[s]” (’700 Patent, Claim 3).3 Phillips v. AWH Corp.,
  2    415 F.3d 1303, 1314 (Fed. Cir. 2005) (“the claims themselves provide substantial
  3    guidance as to the meaning of particular claim terms”); (see also ECF No. 35 at 7–8).
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 18    (’700 Patent, Fig. 1.)
 19            DBest argues that “to substitute ‘lowermost’ for ‘bottom’. . . would only server
 20    [sic] to potentially change the meaning of the claims when they are already clear and
 21    understandable.” (ECF No. 34 at 8.) However, in an effort to expand the scope of
 22    the claim itself, DBest’s proposed construction completely leaves out an essential
 23    portion of the term “bottom horizontal section”—that it is a section at the bottom of
 24    the base section. Under DBest’s construction, the section need only be horizontal,
 25
       3
 26        Indeed, GYT believes that this term can be considered together with the second
 27    proposed term (see Section II.2 infra) since that term provides additional description
 28    for the “bottom horizontal section” referred to in this term.
      _______________________________________________________________________________________________
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  1    which is not what is described by the claim language, the specification, or the
  2    prosecution history.
  3           In contrast, GYT’s intention behind substituting the word “lowermost” for
  4    “bottom” is not to change the meaning of the claims (as alleged by DBest). Rather
  5    the use of this superlative adjective is simply intended to clarify the spatial
  6    relationship between the “bottom horizontal section” and “elevated horizontal
  7    section[s],” as supported by both the intrinsic and extrinsic evidence.
  8           Indeed, both Claim 3 and the specification support the conclusion that the term
  9    “a bottom horizontal section” is referring to a horizontal section of a base section that
 10    is lower than the other components (i.e., the elevated right and left horizontal sections)
 11    of the same base section. The specification of the ’700 Patent uses parallel language
 12    to Claim 3:
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 20    (’700 Patent, 7:2–8 & Fig. 3.)
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  1
             2.     “the bottom horizontal section respectively extending on the left side
                    to a left arcuate section which extends to an elevated left horizontal
  2                 section, and extending on the right side to a right arcuate section
  3                 which extends to an elevated right horizontal section”

  4         GYT’s Proposed Construction                   DBest’s Proposed Construction
  5      “the lowermost horizontal section of          ordinary meaning or “a section of the
         the base section extending on the left        base that is generally horizontal when
  6      side to a left arcuate section which          the cart is in a fully erect standing
  7      extends upwards to a left horizontal          position, the left side of the horizontal
         section that is higher than the               section transitions to a curved section
  8      lowermost horizontal section, and             that transitions to another section that is
  9      extending on the right side to a right        generally horizontal and elevated when
         arcuate section which extends upwards         the cart is in a fully erect standing
 10      to a right horizontal section that is         position, the right side of the horizontal
 11      higher than the lowermost horizontal          section transitions to a curved section
         section”                                      that transitions to another section that is
 12                                                    generally horizontal and elevated when
 13                                                    the cart is in a fully erect standing
                                                       position”
 14
              Although the Parties offer differing constructions for the above term, at least
 15
       one thing is clear—the “elevated horizontal section[s]” are meant to be elevated above
 16
       the ground. (See ’700 Patent, 7:60–64 (“one innovation . . . is that the toe plate 80
 17
       rests on and affixed to the elevated horizontal sections 24HL and 24RL of the bottom
 18
       horizontal section 22 so that the toe plate 80 is elevated above the ground.”) (cited in
 19
       ECF No. 35 at 10); see also ECF No. 34 at 11 (“To this end, the ‘700 Patent teaches
 20
       the ‘an elevated left horizontal section’ and ‘an elevated right horizontal section’
 21
       should be elevated off the ground . . . .”).
 22
              DBest’s remaining argument in support of its proposed construction is focused
 23
       on the assertion that “[t]here is no requirement in Claim 3 that the ‘elevated left
 24
       horizontal section’ or ‘elevated right horizontal section’ be elevated with respect to
 25
       any other portion of the apparatus” (ECF No. 34 at 10). However, as discussed above
 26
       in Section II.1, GYT’s proposed construction is proper, as the claim language and
 27
       specification (in addition to extrinsic evidence) support the conclusion that the term
 28
      _______________________________________________________________________________________________
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  1    “a bottom horizontal section” is referring to a horizontal section of a base section that
  2    is lower than the other components (i.e., the elevated right and left horizontal sections)
  3    of the same base section.
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 11           DBest cannot point to any evidence—neither intrinsic nor extrinsic—to the

 12    contrary.    Other than blindly asserting that neither the claim language nor

 13    specification require the “elevated horizontal section[s]” to be “elevated with respect

 14    to another portion of the cart,” the only alleged support from the specification which

 15    DBest provides is that, in reference to Figure 7, “when the cart is in the folded

 16    position, the ‘elevated left horizontal section’ and ‘elevated right horizontal section’

 17    are not ‘higher than the lowermost horizontal section’ . . . .” (ECF No. 34 at 11–12.)

 18    However, DBest’s proposed construction “makes clear [that] ‘the cart is in a fully

 19    erect standing position’,” such that the evidence DBest provides does not even

 20    directly support its own construction. (ECF No. 34 at 12.)

 21           The motivation behind DBest’s proposed construction is clear—DBest is

 22    attempting to get around the fact that all of the asserted claims of the ’700 Patent

 23    require that the base section be formed “in a single piece of material,” whereas the

 24    accused products use a two-piece construction. (See ECF No. 35 at 3–4.) To do so,

 25    DBest ignores the claim language (and other intrinsic evidence) that requires that the

 26    base section be formed with a “bottom” horizontal section that transitions to

 27    “elevated” horizontal sections. DBest’s attempt to write these limitations out of the

 28    claim should be rejected.
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  1
             3.     “a protective sheath surrounding a portion of the horizontal
                    section”
  2

  3         GYT’s Proposed Construction                   DBest’s Proposed Construction
  4      “an integrated cover around the               “a protective cover surrounding a
         horizontal section”                           portion of the horizontal section”
  5
              Tellingly, other than asserting that it “stays true to the original meaning of the
  6
       claim” (ECF No. 24 at 13), DBest again fails to address any part of the claim language
  7
       or specification that supports its proposed construction.
  8
              DBest’s allegations that “GYT tries to import limitations into the claims that
  9
       are not consistent with claim language” is readily shown to be incorrect. GYT’s
 10
       proposed construction is based on the surrounding claim language and seeks to clarify
 11
       that language.
 12
              In relevant part, Claim 3 requires a cart that includes
 13
               a first lower handle section which is formed in one piece having a
 14
               horizontal section which extends from its left side to a lower vertical left
 15
               leg member and which extends from its right side to a lower vertical
 16
               right leg member . . . a protective sheath surrounding a portion of the
 17
               horizontal section;
 18
       (’700 Patent, Claim 3.)
 19
              In view of this plain language, the “protective sheath” must be included as part
 20
       of (i.e., integrated with) the “first lower handle section which is formed in one piece.”
 21
       (Id.) Accordingly, pursuant to the language of the claim, the lower handle section
 22
       must incorporate each of a horizontal section, a lower vertical left leg member, a lower
 23
       vertical right leg member, and a protective sheath in “one piece.” Contrary to DBest’s
 24
       argument (see ECF No. 34 at 13), GYT respectfully submits that the term “cover”
 25
       incorporates the “protective” language in the claim term, but nonetheless would not
 26
       object to a construction of this term as “a protective, integrated cover around the
 27
       horizontal section” rather than simply “an integrated cover around the horizontal
 28
      _______________________________________________________________________________________________
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  1    section.”
  2            4.    “toe plate which has a honeycomb pattern with a multiplicity of
                     openings separated by horizontal solid sections and vertical solid
  3
                     sections”
  4
              GYT’s Proposed Construction                 DBest’s Proposed Construction
  5
           “platform which has a pattern of            “a toe plate with a pattern of openings
  6        spaced horizontal solid sections and        arranged in rows and columns with solid
  7
           vertical solid sections defining more       sections between the openings”
           than one open space through which
  8        something may be passed”
  9             DBest first argues that “GYT attempts to limit the term ‘a toe plate’ to a
 10    ‘platform’” and that “in [some] instances, toe plates have structures that would be
 11    difficult to be characterized as a ‘platform.’” (ECF No. 34 at 14.) GYT agrees that
 12    the term “toe plate” is “a term of art” (id.); however, GYT proposed a construction
 13    for this aspect of the term because the ’700 Patent’s use of the term “toe plate” differs
 14    from that ordinary meaning. See Phillips, 415 F.3d at 1316 (“[T]he specification may
 15    reveal a special definition given to a claim term by the patentee that differs from the
 16    meaning it would otherwise possess. In such cases, the inventor’s lexicography
 17    governs.”). As shown in DBest’s own exhibits,4 the term “toe plate” typically means
 18    a generally flat, metal ledge at the base (or toe) of a hand truck or cart, which lays flat
 19    against the floor when the hand-truck or cart is upright and can slide under a load for
 20    purposes of lifting and/or moving the load.
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 27        DBest’s inclusion of these exhibits was improper, since these exhibits were never
 28    disclosed by DBest during claim construction discovery.
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          GUANGZHOU YUCHENG TRADING CO., LTD.’S RESPONSIVE CLAIM CONSTRUCTION BRIEF
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  7    (ECF Nos. 34-6–34-9; see also ECF Nos. 34-10–34-13); see also, e.g., Bond St., Ltd.
  8    v. United States, 33 C.I.T. 1247, 1249 (2009) (“A . . . hand truck . . . consist[s] of . . .
  9    a horizontal projecting edge or edges, or toe plate, perpendicular or angled to the
 10    vertical frame, at or near the lower section of the vertical frame. The projecting edge
 11    or edges, or toe plate, slides under a load for purposes of lifting and/or moving the
 12    load.”) (quoting 69 FR 70122-02) (emphasis omitted). Since the “toe plate” required
 13    by Claim 3 “rests on and is affixed to the elevated horizontal sections of the base
 14    member so that the toe plate is elevated above the horizontal base member” (and thus
 15    is elevated above the ground when the cart is upright), a construction of the term as a
 16    “platform” clarifies that, unlike a traditional toe plate, it does not touch the ground
 17    and assist in lifting the load.
 18           DBest offers no explanation of what it understands “toe plate” to mean.
 19    Instead, it asserts, without any evidentiary support, that it “is readily understood by
 20    those skilled in the art.” (ECF No. 34 at 14.) Since the goal of claim construction is
 21    to determine how a person of skill in the art would have interpreted the claim terms
 22    in view of the intrinsic and extrinsic evidence, DBest’s deficient analysis should be
 23    disregarded.
 24           Next, DBest argues that GYT’s construction of “honeycomb pattern with a
 25    multiplicity of openings . . .” limits the term to its “preferred embodiment.” (ECF
 26    No. 34 at 15.) Not so. As explained in GYT’s Opening Brief (see ECF No. 35 at 13–
 27    15), GYT’s proposed construction stays true to language of the claim, the
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  1    specification, and the prosecution history (i.e., the more reliable intrinsic evidence).
  2             DBest hopes to rely on “less reliable” dictionary definitions of the word
  3    “opening” to fabricate an infringement claim against GYT. Phillips, 415 F.3d at
  4    1317–18. And, even DBest’s reference to the terms “an open-ended bag” and “the
  5    open end of the bag” in the ’700 Patent’s specification (see ECF No. 34 at 15) only
  6    highlight the fact the term “opening” can mean different things in different contexts
  7    in the English language. Obviously, when the specification explains that “the bag
  8    1400 can have a multiplicity of pockets as well as a large opening leading to chamber
  9    1500 and closed by top flap 1460,” the term “opening” means an entryway into an
 10    enclosed space. (’700 Patent, 9:58–60 (cited by ECF No. 34 at 15).)
 11             However, when referring to the “toe plate,” the ’700 Patent’s reference to
 12    “openings” can only mean “open space[s] through which something may be passed.”
 13    That unasserted Claim 1 of the ’700 Patent states that each leg member “has transverse
 14    openings extending through it” does not mean that the ’700 Patent is indicating that
 15    it will always explain “when an opening is required to go all the way through a
 16    structure.” (ECF No. 34 at 16 (quoting ’700 Patent, 10:60–64).) The leg members
 17    are shown to be hollow tubes, and thus extra clarification as to whether the openings
 18    lead to the hollow enclosed space or extend all the way through is helpful in that
 19    context. Such clarification is unnecessary in the context of the “honeycomb” toe
 20    plate.
 21             DBest argues, without any evidentiary support, that “honeycomb patterns often
 22    retain an end plate on one or more of the sides of the honeycomb structure.” (ECF
 23    No. 34 at 16.) Thus, DBest argues, “while in some embodiments, honeycomb patterns
 24    may have full through holes, the claim language is not limited to this particular
 25    embodiment of a honeycomb structure.” (Id. at 16–17.) While apparently basing its
 26    argument on what a person of skill in the art would have known about “strength to
 27    weight ratio[s],” DBest does not even identify who it considers a person of skill in the
 28
      _______________________________________________________________________________________________
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  1    art. Moreover, the only embodiment contemplated by the ’700 Patent is the one
  2    shown in the figures. This is not a case of GYT seeking to limit the claim to one
  3    embodiment, but of DBest seeking to expand its claims after-the-fact.
  4           GYT does not believe that it is necessary to determine the level of skill in the
  5    art. Here, “the ordinary meaning of claim language as understood by a person of skill
  6    in the art [is] readily apparent even to lay [people], and claim construction . . .
  7    involves little more than the application of the widely accepted meaning of commonly
  8    understood words.” Phillips, 415 F.3d at 1314.
  9           And, as explained in GYT’s Opening Brief, the specification supports its
 10    proposed construction requiring openings “through which something may be passed.”
 11    The specification explains that when in a “locked/folded” condition, “the tab 174,”
 12    part of locking tab 170, is “locked in one of the transverse members 84 of the toe
 13    plate 80.” (’700 Patent, 3:41–43.)
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 23           This textual description and illustration in Figure 8b confirm that “tab 174” of
 24    the “attachment clip” (also referred to as “locking tab 170”) must pass through the
 25    openings of the toe plate in order to lock onto the horizontal solid sections separating
 26    the openings, thereby locking the cart in a folded condition. Similarly, dependent
 27    Claim 8 requires “a locking tab” with “a locking member at one end which grips a
 28
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  1    transverse member of the toe plate so that when the cart is in the folded condition, the
  2    locking tab serves to securely lock the cart in a folded condition for safe storage.”
  3    DBest even touts this “unique attachment clip affixed to a crossbar [that] enables the
  4    folded cart to be locked” as a “benefit over the prior art” (ECF No. 34 at 2), but ignores
  5    its significance in the claim construction analysis.
  6           DBest also ignores the ’700 Patent’s prosecution history where the Examiner
  7    noted certain “prior art . . . considered pertinent to applicant’s disclosure” which
  8    included “honeycomb platform[s]” (ECF No. 35-10 at GYT000185):
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 21    (ECF No. 35-11 at GYT000261; ECF No. 35-12 at GYT000274–276, 284; ECF No.
 22    35-13 at GYT000288–289.)
 23           The “honeycomb platforms” referred to in each of these cited references are
 24    illustrated as platforms with a pattern of open spaces through which an object may be
 25    passed—consistent with GYT’s construction and supporting the conclusion that the
 26    term “openings” was understood by the Examiner and DBest at the time of the
 27    application as “more than one open space through which something may be passed.”
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          GUANGZHOU YUCHENG TRADING CO., LTD.’S RESPONSIVE CLAIM CONSTRUCTION BRIEF
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  1    See Phillips, 415 F.3d at 1317 (Fed. Cir. 2005) (The prosecution history “provides
  2    evidence of how the PTO and the inventor understood the patent.).
  3           DBest’s motivation for its proposed construction is clear; it seeks to cover the
  4    Accused Products’ solid removeable platform by arguing that the support structure
  5    on the bottom of the platform somehow includes “openings”:
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 13    (ECF No. 35-5 at Appendix A, pp. 8–9.)
 14           DBest’s contrived argument is not supported by the claim language, the figures,
 15    the rest of the specification, the prosecution history, or common sense, and GYT’s
 16    proposed construction should be adopted.
 17          5.     “horizontal base member”
 18
            GYT’s Proposed Construction            DBest’s Proposed Construction
 19
         Indefinite or, if not indefinite, “a   “the bottom horizontal section of the
 20      lowermost horizontal section of a base base section”
 21      section”

 22           A patent’s claim, when viewed in light of the intrinsic evidence, must “inform

 23    those skilled in the art about the scope of the invention with reasonable certainty.”

 24    Nautilus Inc. v. Biosig Instruments, Inc., 134 S. Ct. 2120, 2129 (2014). A claim term

 25    is invalid as indefinite if it fails to “particularly point[] out and distinctly claim[] the

 26    subject matter which the inventor or a joint inventor regards as the invention.” 35

 27    U.S.C. § 112(b).

 28           As explained in GYT’s Opening Brief at pages 16–19, the term “horizontal
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          GUANGZHOU YUCHENG TRADING CO., LTD.’S RESPONSIVE CLAIM CONSTRUCTION BRIEF
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  1    base member” does not appear in the specification of the ’700 Patent, and appears for
  2    the first (and only) time in independent Claim 3 in this instance. However, Claim 3
  3    talks about “the” horizontal base member, as if the reader should know what portion
  4    of the structure is being referenced. But because there is no earlier identification of
  5    “the horizontal base member,” the reader has no way to know with reasonable
  6    certainty what portion of the claimed cart is being referred to by the term. In other
  7    words, the term has no “antecedent basis” and must be rendered indefinite.
  8            DBest argues that the claim term is not indefinite and that “its [sic] clear from
  9    the context of the claim that ‘horizontal base member’ is referring to ‘the bottom
 10    horizontal section.’” (ECF No. 34 at 17.) DBest does not provide any explanation as
 11    to how a person of ordinary skill would be able to make that determination with any
 12    certainty. Instead, DBest argues that the term is the result of a mere typographical
 13    error where “the phrase ‘horizontal base section’ became ‘horizontal base member.’”
 14    (ECF No. 34 at 18.) DBest argues that “[a]n obvious typographic error such as a
 15    substitution of the term ‘member’ for ‘section’ does not render a claim indefinite
 16    when it is clear from the context of the claim and the prosecution history does not
 17    suggest a different interpretation.” (Id.) However, DBest’s argument makes no sense,
 18    because the term “horizontal base section” (purportedly the correct term) does not
 19    appear in the claim or anywhere in the specification of the ’700 Patent.5 If DBest
 20    does not even know what the term “horizontal base member” is referring to, a person
 21    of skill in the art would have no way to know with reasonable certainty.
 22            DBest’s argument with respect to this term also undermines its arguments with
 23    respect to Disputed Term Nos. 1 and 2. If “horizontal base member” was meant to
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       5
 25        Elsewhere, DBest argues that “the term ‘member’ was clearly substituted for
 26    ‘section’ and ‘the horizontal base member’ is referring to ‘the bottom horizontal base
 27    section.’” Under this argument, again, the term “the bottom horizontal base section”
 28    does not appear in the claim or anywhere in the specification of the ’700 Patent.
      _______________________________________________________________________________________________
          GUANGZHOU YUCHENG TRADING CO., LTD.’S RESPONSIVE CLAIM CONSTRUCTION BRIEF
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  1    refer to the “bottom horizontal section,” as DBest seems to argue, DBest is further
  2    contradicting its argument that “[t]here is no requirement in Claim 3 that the ‘elevated
  3    left horizontal section’ or ‘elevated right horizontal section’ be elevated with respect
  4    to any other portion of the apparatus.” (ECF No. 34 at 10.) This claim term requires
  5    that “the toe plate rests on and is affixed to the elevated horizontal sections of the base
  6    member so that the toe plate is elevated above the horizontal base member . . . .”
  7    (’700 Patent, Claim 3). If the term “horizontal base member” is substituted with
  8    “bottom horizontal section,” the claim makes clear that the “bottom horizontal
  9    section” must be lower than the other components of the claimed cart (i.e., the
 10    elevated right and left horizontal sections on which the toe plate is affixed).
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 19           Therefore, if the Court does not determine that the term “the horizontal base
 20    member” is indefinite, GYT respectfully requests this Court construe the term as
 21    equivalent to “bottom horizontal section” discussed in Section IV.1 supra.
 22          6.     “a horizontal mounting bar retaining rotational affixation members
 23
                    to rotatably retain the toe plate”

 24
             GYT’s Proposed Construction                  DBest’s Proposed Construction
 25      “a horizontal mounting bar on which           ordinary meaning or “a bar that is
 26      rotational affixation members, which          generally horizontal when the cart is in
         connect to the toe plate in such a way        a fully erect standing position wherein
 27      as to allow the toe plate to rotate           the bar is rotatably coupled to the toe
 28
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          GUANGZHOU YUCHENG TRADING CO., LTD.’S RESPONSIVE CLAIM CONSTRUCTION BRIEF
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  1      relative to the rotational affixation         plate with rotational affixation
         members, are attached”                        members”
  2
              DBest’s argument centers on its assertion that the term “retain” does not mean
  3
       “attached” (as proposed by GYT). (See ECF No. 34 at 19–20.) DBest again relies
  4
       on faulty logic. DBest points to the specification’s explanation that “the cart may
  5
       have ‘a shopping bag with a deep central chamber to retain groceries and other
  6
       objects’” and argues that “[a]s anyone can appreciate, the groceries and other objects
  7
       are not ‘attached’ to the shopping bag.” (Id. at 20.) However, this argument is inapt,
  8
       since groceries and other items also cannot be said to be “coupled” to the shopping
  9
       bag, which is the language that DBest proposes in place of “retain.” Moreover, it is
 10
       clear that the same words can have different meanings in different contexts, which is
 11
       the case here.
 12
              As shown by the passage of the specification quoted by DBest, when referring
 13
       to the horizontal mounting bar and rotational affixation members, the word “retain”
 14
       refers to a direct connection. (See, e.g., ’700 Patent, 8:18–21 (“horizontal mounting
 15
       bar 140 retains right rotational tube 90RRT which in turn is connected by a right
 16
       connecting member 90RCM to right rotational affixation member 90RRM to further
 17
       retain toe plate”). Any other interpretation would make no sense, since all of the
 18
       components of the cart are otherwise indirectly connected to each other.
 19
              DBest’s proposed construction seeks to impermissibly broaden the scope of the
 20
       claims so that the rotational affixation members do not have to be retained by the
 21
       horizontal mounting bar, only “rotatably coupled” no matter how many intermediary
 22
       pieces come in between. DBest’s motivation was made clear by its Infringement
 23
       Contentions, where DBest pointed to support members on the accused products that
 24
       are neither retained by the horizontal mounting bar nor the removable platform, as
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          GUANGZHOU YUCHENG TRADING CO., LTD.’S RESPONSIVE CLAIM CONSTRUCTION BRIEF
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  1    somehow satisfying this claim limitation:6
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 10    (ECF No. 35-5 at Appendix A, pp. 9–11.) But the Accused Product shown above
 11    cannot meet this claim limitation—the claim requires both that the “horizontal
 12    mounting bar retain[] rotational affixation members to rotatably retain the toe plate”
 13    and “extend[] through aligned openings in the lower vertical left leg member and
 14    lower vertical right leg member.” (’700 Patent, Claim 3.) If the Accused Product has
 15    a “horizontal mounting bar” that “extends through” the leg members, that same
 16    connection with the leg members cannot meet the requirement that the horizontal
 17    mounting bar also “retain[] rotational affixation members.” See Becton, Dickinson &
 18    Co. v. Tyco Healthcare Grp., LP, 616 F.3d 1249, 1254 (Fed. Cir. 2010) (“Where a
 19    claim lists elements separately, the clear implication of the claim language is that
 20    those elements are distinct components of the patented invention.”)
 21             Yet, DBest is arguing with its proposed construction that these components be
 22    “rotatably coupled.” Either way, the meaning of “rotatably coupled” is indefinite and
 23    unsupported by the intrinsic and extrinsic evidence. Accordingly, DBest’s proposed
 24    construction should be rejected.
 25

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       6
 27        DBest argued in the alternative that the limitation was met under the “doctrine of
 28    equivalents.”
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          GUANGZHOU YUCHENG TRADING CO., LTD.’S RESPONSIVE CLAIM CONSTRUCTION BRIEF
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  1
              7.     “the horizontal mounting bar further rotatably supporting the left
                     bumper wheel and the right bumper wheel in a manner where one-
  2                  half of the given diameter of the left bumper wheel is aligned with
  3                  the toe plate and one-half of the given diameter of the right bumper
                     wheel is aligned with the toe plate”
  4

  5            GYT’s Proposed Construction                 DBest’s Proposed Construction
  6        “the horizontal mounting bar that           “the horizontal mounting bar further
           further supports and permits the            rotatably supports the left wheel and
  7        rotation of a single robust left wheel      right wheel so that the center of each of
  8        and a single robust right wheel in a        the left wheel and the right wheel is
           way such that the center of the single      aligned with the back of the toe plate”
  9        robust left wheel is aligned with the
 10        back end of the toe plate, and the
           center of the single robust right wheel
 11        is aligned with the back end of the toe
 12        plate, no matter the angle at which the
           cart is rotated”
 13
               DBest’s argument primarily focuses on GYT’s proposed construction of the
 14
       left and right “bumper wheels.” DBest argues that “there is no support in the claims
 15
       or the specification” for GYT’s construction of “bumper wheel” as “single robust
 16
       wheel.” (ECF No. 34 at 22.)
 17
               DBest first contends that GYT’s proposed “robust” modifier replacing the term
 18
       “bumper” is “inappropriate” because the term “(beefy wheel)” was specifically
 19
       deleted during prosecution and that “it would be wholly inappropriate to propose a
 20
       construction that added a limited back into the claims”7. (ECF No. 34 at 22.)
 21
       However, DBest’s prior inclusion of “beefy wheel” in the claim sheds light on its
 22
       understanding of the “bumper wheel” that it was modifying. Further, the specification
 23
       describes that the “large rubber bumper wheels (beefy wheels). . . enable the cart to
 24

 25
       7
 26        During the prosecution of the ’700 Patent, the phrase “(beefy wheel)” was objected
 27    to, and subsequently removed, “as being colloquial expression that does not impart
 28    structural limitations.” (ECF No. 35-10 at GYT000179.)
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          GUANGZHOU YUCHENG TRADING CO., LTD.’S RESPONSIVE CLAIM CONSTRUCTION BRIEF
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  1    be rolled over sand, stairs, curbs, stones and other uneven surfaces.” (’700 Patent,
  2    10:10–12; see also id., 3:39–41 (“[L]arge heavy wheels enable the cart to carry one
  3    hundred sixty (160) pounds of load when the shopping bag is removed.”); see also
  4    ECF No. 34 at 2 (pointing to the purported “advantages and benefits over prior art”
  5    including that “the large wheels with rubber tires enable the cart to be rolled over
  6    uneven surfaces”).) Accordingly, using the word “robust” more accurately describes
  7    the size of the wheel, and is consistent with the specification’s purposeful use of the
  8    phrase “beefy wheels” as a more commonly-known expression to describe “bumper
  9    wheels.”
 10           Second, DBest opposes GYT’s proposed constructions of “the left bumper
 11    wheel” as “a single robust left wheel.” (ECF No. 34 at 22–23.) Nowhere in the
 12    specification is there any contemplation that the invention would include more than
 13    one wheel on either end of the horizontal mounting bar—rather, the specification
 14    makes clear that the disclosure contemplates only two wheels, one on either end of
 15    the horizontal mounting bar. (’700 Patent, 8:7–10 (“Referring to FIGS. 1, 2, 3 and 4,
 16    the present invention cart 10 has a pair of oppositely disposed large bumper wheels
 17    (beefy wheels) 110 and 120 with large rubber tires 122 and 132.”); id. at 8:57–59
 18    (“[B]oth of the large rubber bumper wheels (beefy wheels) 122 and 132 which are
 19    four (4) inches in diameter folded against the lower handle section 30 . . .”).)
 20           Moreover, the claim language itself refers to “the left bumper wheel” and “the
 21    right bumper wheel,” which necessarily signifies a single left bumper wheel and a
 22    single right bumper wheel. As discussed in GYT’s Opening Brief (see ECF No 35 at
 23    25), it appears necessary to clarify that this term refers to a single left and right wheel
 24    because DBest seeks to argue for a broader construction to support its infringement
 25    contentions. The accused “stair climber” cart shown in GYT’s Opening Brief does
 26    not have a single left and right wheel “rotatably support[ed]” by the horizontal
 27    mounting bar, nor does it have a single left and right wheel with “one-half of [their]
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          GUANGZHOU YUCHENG TRADING CO., LTD.’S RESPONSIVE CLAIM CONSTRUCTION BRIEF
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  1    given diameter[s] . . . [are] aligned with the toe plate.” The three-wheel combinations
  2    connected on each side of the product’s axle cannot be said to have a “diameter”:
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       (ECF No. 35-5 at Appendix A, pp. 9–11)
 11
              DBest’s objection to the phrase “no matter the angle at which the cart is
 12
       rotated” (see ECF No. 34 at 23) is also motivated by DBest’s attempt to expand the
 13
       scope of its claims to cover the stair climber cart shown above. DBest acknowledges
 14
       the purported novelty of the cart, providing the advantage that “half the wheel is
 15
       aligned with the toe plate instead of each wheel being behind the toe plate, thereby
 16
       allowing the cart to be more easily pulled with a heavy load.” (ECF No. 34 at 2.)
 17
       This claim limitation seeks to put “one-half of the given diameter” of the wheels in
 18
       line with the toe plate—in other words, the center of the wheels is aligned with the
 19
       back end of the toe plate, in the horizontal direction, so that the wheels are not behind
 20
       the toe plate.
 21
              Necessarily, when the cart is pulled, the cart is rotated at some angle. However,
 22
       “no matter the angle at which the cart is rotated,” “one-half of the given diameter of
 23
       the left bumper wheel is aligned with the toe plate and one-half of the given diameter
 24
       of the right bumper wheel is aligned with the toe plate.” Such principle is apparent
 25
       from the symmetrical nature of a wheel, and is illustrated by a comparison of Figures
 26
       1 and 9. It is also supported by the specification’s explanation that, while the angle
 27
       of the cart relative to the surface can range from 10 degrees to 60 degrees, “one-half
 28
      _______________________________________________________________________________________________
          GUANGZHOU YUCHENG TRADING CO., LTD.’S RESPONSIVE CLAIM CONSTRUCTION BRIEF
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  1    of the diameter ‘D-1’ of the large bumper wheels (beefy wheels) 122 and 132 is
  2    aligned with the toe plate 80.” (’700 Patent, 8:11–28 & Fig. 9.)
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 15           Finally, just as the meaning of “rotatably coupled” is uncertain and unsupported
 16    by the intrinsic and extrinsic evidence, the term “rotatably supported” is not used in
 17    the specification and is unclear. GYT believes that its proposed construction of “the
 18    horizontal mounting bar that further supports and permits the rotation of a single
 19    robust left wheel and a single robust right wheel” clarifies the term and is consistent
 20    with the claim language and the specification. (See, e.g., ’700 Patent, 8:11–24 (“A
 21    horizontal mounting bar 140 . . . extends into left bumper wheel (beefy wheel) 120.
 22    Similarly, horizontal mounting bar 140 . . . extends into right bumper wheel (beefy
 23    wheel) 130.”).)
 24           Accordingly, DBest’s proposed construction should be rejected.
 25    III. CONCLUSION
 26           For the foregoing reasons, GYT respectfully requests that the Court adopt its
 27    proposed claim constructions and reject DBest’s proposed constructions.
 28
      _______________________________________________________________________________________________
          GUANGZHOU YUCHENG TRADING CO., LTD.’S RESPONSIVE CLAIM CONSTRUCTION BRIEF
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  1                                                 Respectfully submitted,
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  3
      Dated: March 28, 2022                         TARTER KRINSKY & DROGIN LLP

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          GUANGZHOU YUCHENG TRADING CO., LTD.’S RESPONSIVE CLAIM CONSTRUCTION BRIEF
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  1                                CERTIFICATE OF SERVICE
  2           I hereby certify that on March 28, 2022, I electronically filed the above
  3    document(s) and attachments with the Clerk of Court using CM/ECF which will send
  4    electronic notification of such filing(s) to all registered counsel.
  5

  6                                                 /s/ Mark Berkowitz
  7                                                 Mark Berkowitz
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          GUANGZHOU YUCHENG TRADING CO., LTD.’S RESPONSIVE CLAIM CONSTRUCTION BRIEF
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